UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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OLIVIA RUX et al.,                                              :
                                                                :   ORDER REGULATING
                                         Petitioners,           :   PROCEEDINGS
             -against-                                          :
                                                                :   08 Civ. 6588 (AKH)
ABN-AMRO BANK N.V., et al.,                                     :
                                                                :
                                         Respondents.           :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On June 26, 2008, this Court entered an order directing the parties to jointly

develop a) a procedure leading to speedy turnover of the funds owed to petitioners, subject to

notice that would permit third-party claimants to assert their interest in the funds; and b) a

method for providing notice to those third-party claimants. On July 24, 2008, the parties

submitted a joint letter indicating that they were unable to come to an agreement as to how best

to achieve these objectives. The letter outlined each party’s respective proposed procedure and

positions on the relevant issues. After reviewing the parties’ submission, I order the following:

                      1. Respondents shall promptly, within five business days, transfer control of

                          all contested funds held by them into the Registry of the Court for the

                          Southern District of New York’s Court’s Registry Investment System

                          (“CRIS”). CRIS accepts wire transfers through the following account:

                          Bank:                      U.S. Treasury
                          Agency Locator:            4654
                          Routing Number:            021030004
                          Comments Field:            08 Civ. 6588 (AKH) (S.D.N.Y.)
                                                     (Olivia Rux, et al. v. ABN-AMRO Bank N.V. et al.)

                          For questions regarding the transfer procedure, contact the Court’s

                          Financial Administrator, Michael Lindner, at (212) 805-0610.



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2. Within ten days thereafter, Petitioners shall give notice of this Order and

   all prior documents filed in this case to the Government of Sudan, the

   judgment debtor. Notice is to be provided in a manner consistent with the

   procedures for foreign mail, as outlined by the Clerk’s office and available

   at http://www1.nysd.uscourts.gov/cases/show.php?db=forms&id=18.

3. Within ten days after the transfer ordered in paragraph one, Respondents

   shall give notice of this Order, and of the Turnover Petition to any and all

   persons who originated or deposited funds into the accounts that are to be

   transferred to the Clerk, as described in paragraph 1, above, and to any

   other individuals who respondents reasonably believe may have an interest

   in said funds. Notice is to be provided in the manner described in

   paragraph 2, above. In the Notice, respondents are to give any third-party

   claimants 60 days to provide written objection asserting any interest they

   may have in the funds, and to invite any party making written objections

   to attend the hearing, to be scheduled as provided in paragraph 4 below.

4. At the end of the 60-day period, Respondents are to provide a report to

   petitioners and to the Court, cataloguing all objections received from

   third-party claimants, if any are received. Petitioners may file oppositions

   to the objections within ten days thereafter. A hearing date will then be

   scheduled to enable me to rule on petitioner’s motion to turn over the

   funds. All other previously scheduled hearing dates are cancelled.




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